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                      United States Court of Appeals
                                  FOR THE DISTRICT OF COLUMBIA CIRCUIT
                                           ____________


No. 25-5067                                                      September Term, 2024
                                                                             1:25-cv-00766-JEB
                                                        Filed On: June 24, 2025 [2122173]
J.G.G., et al.,

                   Appellees

         v.

Donald J. Trump, in his official capacity as
President of the United States, et al.,

                   Appellants


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Consolidated with 25-5068

         BEFORE:           Henderson, Millett, and Walker, Circuit Judges


                                              ORDER

       Upon consideration of the motion of movant Paul Andrew Mitchell for leave to
intervene and transfer to cure want of jurisdiction; the joint motion to govern further
proceedings; and appellants’ unopposed motion for voluntary dismissal, it is

         ORDERED that the motion for leave to intervene and transfer be denied. It is

       FURTHER ORDERED that the motion for voluntary dismissal is granted and
these cases are hereby dismissed.

         The Clerk is directed to issue the mandate forthwith to the district court.

                                             Per Curiam


                                                               FOR THE COURT:
                                                               Clifton B. Cislak, Clerk
                                                       BY:     /s/
                                                               Michael C. McGrail
                                                               Deputy Clerk
